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               Exhibit 17
     Litigation Funding Agreement




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                               LITIGATION FUNDING AGREEMENT
This Litigation Funding Agreement (the “Agreement”), effective November 16, 2018, is by and between
Martin Tripp (“Claimant”) and The Funicular Fund, LP (“Funder”), a Delaware limited partnership.
Claimant wishes to obtain, and Funder desires to provide, the financial support required to mount a
vigorous legal defense and prosecute counterclaims against Tesla, Inc. (“Tesla”) in the matter of Tesla,
Inc. v. Martin Tripp, captioned 3:18-cv-00296-LRH-CBC in the United States District Court for the
District of Nevada (the “Action”).
Funder acknowledges that the financing provided pursuant to this Agreement is non-recourse; Funder
shall be entitled to no recovery of attorney fees and expenses incurred if there are no Proceeds in the
Action. Claimant acknowledges that Funder’s obligations are limited to the financing provided pursuant
to this Agreement; Funder shall have no liability for any attorney fees and expenses in excess thereof,
adverse costs, damages, or other charges arising through the Action or otherwise.
Now, therefore, it is agreed as follows:
1.0 Definitions
Action: The lawsuit filed by Tesla against Claimant and counterclaims brought by Claimant against Tesla
in the matter of Tesla, Inc. v. Martin Tripp, captioned 3:18-cv-00296-LRH-CBC in the United States
District Court for the District of Nevada, including any refiling, counterclaim, appeal, settlement,
enforcement action, arbitration, or other action or process related to the lawsuit, whether primary,
ancillary, or parallel.
Award: The total monetary amount owed to Claimant reduced, but not below zero, by the total monetary
amount owed by Claimant to Tesla, if any, on account of or as a direct or indirect result of the Action,
whether by negotiation, arbitration, mediation, lawsuit, judgment, settlement, or otherwise. For the
avoidance of doubt, “Award” includes both cash and the monetary value of non-cash assets at the time the
Award is paid, and it excludes the value of injunctive, declaratory, or other non-monetary relief.
Claimant: Martin Tripp.
Closing: The date, not to exceed 10 business days, following the execution of this Agreement upon which
the Investment Amount is delivered by Funder to the Trust Account.
Common Interest Agreement: the Common Interest and Confidentiality Agreement by and among
Claimant, Funder, and Litigation Counsel executed as of September 24, 2018.
Common Interest Material: Common Interest Material shall have the definition agreed in the Common
Interest Agreement. It includes, without limitation, any discussion, evaluation, negotiation, and any other
communication and exchanges of information relating to the Action in any way, whether written or oral,
between or among the Claimant, Litigation Counsel, and/or Funder, provided that such communication
would be protected by attorney-client privilege between Litigation Counsel and the Claimant, work-
product doctrine, or other discovery protection if not disclosed to a third party lacking a common legal
interest.
Conclusion of the Action: The final resolution of the Action, whether by settlement, the entry of a non-
appealable final judgment against the Claimant, or the enforcement of a final, non-appealable judgment in
favor of the Claimant.


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Confidential Information: Confidential Information shall have the definition and exclusions as set forth in
the Common Interest Agreement. Confidential Information shall also include, without limitation: (i) the
Common Interest Material; (ii) discussions and negotiations related to this Agreement, including drafts of
this Agreement; (iii) to the extent not already covered as Common Interest Material, information relating
to the Claim, including: (a) the information, of any type, relevant to understanding the Claim; (b)
Litigation Counsel’s or Funder’s strategies, tactics, analyses, or expectations regarding the Action or
Award; and (c) any professional work product relating to the Action or the Award, whether prepared for
the Claimant, Litigation Counsel, or the Funder.
Notwithstanding the foregoing, information is not Confidential Information that (a) was or becomes
generally available to the public other than by breach of this Agreement; (b) was, as documented by the
written records of the receiving party, known by the receiving party at the time of disclosure to it or was
developed by the receiving party or its representatives without using Confidential Information or
information derived from it; (c) was disclosed to the receiving party in good faith by a third party who has
an independent right to such subject matter and information; or (d) is required to be disclosed by law.
Costs: The expenses incurred by or on behalf of the Claimant for conducting the Action and complying
with the terms of this Agreement which include, without limitation, professional fees, whether for
attorneys, advisors, experts, or witnesses, and procedural fees relating to court, arbitration, or other
process, including filing and arbitrator fees, provided that the amounts in each case are approved by
Litigation Counsel. Litigation Counsel shall provide Claimant and Funder with periodic invoices detailing
the Costs incurred.
Funder: The Funicular Fund, LP, a Delaware limited partnership.
Investment Amount: $150,000.
Investment Factor: Upon the Conclusion of the Action occurring within the first year following the
Closing, ten percent (10%). Thereafter, the product of (i) the total number of days since closing divided
by 365 and (ii) ten percent (10%).
Litigation Counsel: Tiffany & Bosco, P.A., an Arizona professional corporation, its affiliates, and any
successor or supplementary counsel retained by the Claimant to conduct the Action and advise on this
Agreement’s terms, amendments, and assignments, on settlement proposals and on privilege issues. Such
counsel has and shall have no direct or indirect economic relationship with the Funder prior to the
Conclusion of the Action.
Litigation Proceeds Right: The right to receive Proceeds according to the Waterfall Schedule granted by
Claimant to Funder by the terms of this Agreement.
Litigation Proceeds Right Certificate: A document substantially in the form of Exhibit A (i) reflecting
ownership of the Litigation Proceeds Right; (ii) bearing a legend stating that the certificate and the right it
represents may not be transferred, except among affiliates of Funder (as set forth in Section 2.2.7.2),
without the express, written consent of the Claimant and then only if the transferee becomes a party to
this Agreement; and (iii) certifying the existence of a perfected senior security interest in the Trust
Account and in the Action.
Proceeds: Any and all value received by or for the benefit of Claimant to satisfy the Award, whether the
Award results from settlement or other negotiated agreement or a judgment, order, or other determination
by an independent party, such as a court or arbitrator.

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Trust Account: The Interest on Lawyer Trust Account (IOLTA) maintained by Litigation Counsel for the
benefit of Claimant, which has a balance of $13,785.80 as of the date of this Agreement. Upon
presentment of periodic invoices to Claimant and Funder, and with the approval of Funder, which may
not be unreasonably withheld, Litigation Counsel shall be authorized to release funds from the Trust
Account to satisfy Costs, including Litigation Counsel’s hourly attorney fees and approved third-party
expenses.
Unused Investment: The difference between the total amounts deposited into the Trust Account prior to
any Award, including the Investment Amount and amounts previously advanced by Claimant, on the one
hand, and the Costs, not including any contingent fee, invoiced by Litigation Counsel or approved third
parties, on the other. Upon Conclusion of the Action, and prior to the distribution of the Proceeds, if any,
Litigation Counsel shall return to Funder the Unused Investment, if any, from the Trust Account.
Waterfall Schedule: The schedule set forth below establishing priority in right of payment with respect to
the Proceeds. The Proceeds shall be paid into the Trust account and distributed promptly among
Claimant, Litigation Counsel, and Funder according to the following schedule:
        First, to Funder, the amount equal to the product of the Investment Amount and the Investment
        Factor;
        Second, to Funder, the lesser of (i) the Investment Amount and (ii) the amount equal to the
        Investment Amount less the Unused Investment;
        Third, to Litigation Counsel, the amount, if any, of Costs incurred in excess of the balance of the
        Trust Account;
        Fourth, in the event that total Proceeds are in excess of $300,000, to GoFundMe donors, in
        proportion to the amounts donated;
        Thereafter, the remaining Proceeds to be distributed twenty-five percent (25%) to Litigation
        Counsel, as a contingent fee, fifty percent (50%) to Claimant, and twenty-five percent (25%) to
        Funder.
2.0 Representations and Warranties
2.1 Claimant’s Representations and Warranties
2.1.1. Common Interest: Claimant has received Litigation Counsel’s advice regarding the common-
interest doctrine.
2.1.2 Full Disclosure: Claimant represents that, as of the date of this Agreement, Claimant has provided
Funder with all material information relating to the Action, excluding information protected solely by the
attorney-client privilege.
2.1.3. Fully Informed: Claimant represents that it has reviewed the disclosures provided by Funder, and
Claimant does not object to the conflicts or potential conflicts described therein.
2.1.4 No Impairment:
2.1.4.1 Other than as already disclosed to Funder, Claimant has not taken any action (including executing
documents) or failed to take any action, which (a) would materially and adversely affect the Action, or (b)
would give any person or entity other than Funder or Litigation Counsel an interest in the Award or the
Proceeds.
2.1.4.2 Claimant agrees and undertakes that (a) it will not institute any action, suit, or arbitration separate
from the Action arising from the same facts, circumstances or law giving rise to the Action; (b) it will not
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take any action or fail to take any action reasonably likely to have a materially adverse impact on the
Action or Funder’s share of any Proceeds; and (c) it will not take any action or fail to take any action that
would give any person or entity an interest in the Action, Award, or potential Proceeds except as
otherwise expressly permitted by this Agreement.
2.1.5 Solvency: Claimant has no bankruptcy proceedings outstanding or written notice of potential
proceedings against it.
2.1.6 Advice on this Agreement: Claimant represents that Claimant has had the opportunity to seek
independent counsel, and has been advised by Litigation Counsel, before entering into this Agreement.
2.1.7 Completeness and Accuracy: Claimant represents that as of the date of this Agreement, (a) all
material information it and Litigation Counsel provided to Funder is true and correct, and (b) all its
representations and warranties in this Agreement are true and correct.
2.1.8. Fully Informed: Claimant has been afforded access to sufficient information and the opportunity to
ask all questions deemed necessary by it to evaluate the arrangements contemplated by this Agreement
and has thoroughly reviewed all information provided to it.
2.2 Funder’s Representations
2.2.1. Assistance: Funder may provide strategic and analytical assistance, as and when requested by
Claimant or Litigation Counsel, which may include document review, financial analysis, and commentary
on strategy and regulatory matters deriving from Funder’s experience.
2.2.2. Fully Informed: Funder has been afforded access to sufficient information and the opportunity to
ask all questions deemed necessary by it to evaluate the investment and has thoroughly reviewed all
information about the Action provided to it.
2.2.3. Each person signing this document on behalf of Funder represents that: (i) Funder was not formed
for the specific purpose of making the investment; (ii) the purchase of the Litigation Proceed Right is a
permissible investment in accordance with its limited partnership agreement; (iii) the purchase of the
Litigation Proceed Right has been duly authorized and approved; and (iv) the person signing this
document and all other documents relating to this Agreement has been duly authorized to do so.
2.2.4. Funder represents and warrants that it is an “accredited investor” as defined under SEC Regulation
D and has knowledge and experience in business and financial matters to such a degree as to enable it to
evaluate the merits and risks of the investment. In relation to its income and/or net worth, Funder is able
to bear the economic risk of this investment, including the risk of loss of all or part of the investment and
the probable inability to sell or transfer the Litigation Proceed Right. Moreover, Funder has financial
means that are adequate to provide for its current needs and contingencies and to sustain a complete loss
of the investment, and it has no need for liquidity.
2.2.5 No Conflicts of Interest:
2.2.5.1 Funder has not, as of the date of this Agreement: (a) paid a referral fee to Litigation Counsel in
connection with the Action, the Claimant, or this Agreement; (b) entered any transaction with Litigation
Counsel that has or would make Litigation Counsel a part owner of Funder; (c) contracted with any other
party or potential party to the Action; (d) engaged in negotiations with any other party or potential party
to the Action; or (e) entered into any relationship with Claimant’s Litigation Counsel that potentially
conflicts with Claimant’s interests regarding the Action.

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2.2.5.2 Funder will not (a) pay a referral fee to Litigation Counsel in connection with the Action,
Claimant, or this Agreement; (b) transfer or agree to transfer any ownership in Funder to Litigation
Counsel; or (c) engage in any other activity establishing an economic relationship between Funder and
Litigation Counsel. This provision shall survive the termination of this Agreement if the Agreement is
terminated prior to the Conclusion of the Action.
2.2.6 No Waiver of Privilege:
2.2.6.1 As of the date of this Agreement, Funder has not disclosed any Common Interest Material to
anyone without the prior written consent of the Claimant; and
2.2.6.2 Notwithstanding Subsection 4.2, Funder shall not disclose any Common Interest Material to
anyone except its affiliates and representatives without prior written consent of the Claimant. For the
avoidance of doubt, this prohibition does not prevent disclosure to the Funder’s limited partners and/or
any party to whom the Funder wishes to transfer part or all of its interest in the Action, provided Funder
shall enter into an agreement with such recipients to preserve the confidentiality of the Common Interest
Material on terms no less restrictive than those set forth in this Agreement for Confidential Information.
This provision shall survive the termination of this Agreement and remain in effect until the Conclusion
of the Action.
2.2.7 Secondary Market:
2.2.7.1 Funder represents that as of the date of this Agreement it has not sold or entered negotiations to
sell part or all of its Litigation Proceeds Right to anyone.
2.2.7.2 Funder reserves the right to transfer its Litigation Proceeds Rights under this Agreement among its
affiliates and limited partners (e.g., between accounts managed by the Funder’s General Partner) in its
sole and absolute discretion.
2.2.7.3 Funder shall not not transfer its interests under this Agreement to any third party without the
express, written approval of Claimant.
3.0 Additional Covenants
3.1 Covenants of Claimant:
3.1.1 Representations Remain True: Claimant covenants that all of its representations and warranties shall
continue to be true throughout the term of this Agreement. If any representation or warranty of Claimant
ceases to remain true, Claimant will notify Funder in writing within five (5) business days.
3.1.2 Duty to Cooperate: Claimant covenants to cooperate in good faith in the prosecution of the Action
until Conclusion of the Action. Specifically, Claimant will promptly and fully assist Litigation Counsel as
reasonably necessary to conduct and conclude the Action. For the avoidance of doubt, such assistance
includes all actions any Claimant may reasonably expect to undertake, including submitting to
examination, verifying statements under oath, and appearing at any proceedings. The examples in the
preceding sentence are illustrative and do not limit Claimant’s duty to cooperate in any way.
3.1.3 Duty to Inform: Claimant agrees and undertakes to keep the Funder fully informed, or to cause
Litigation Counsel to keep the Funder fully informed, about the progress of the Action. Specifically, (a)
Non-Privileged Information: Claimant hereby irrevocably instructs Litigation Counsel, and if further
instructions are needed, undertakes to instruct Litigation Counsel, to provide Funder with all material
non-privileged information as soon as practicable, regardless of the information’s source, confidentiality,
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or form, unless the Funder already possesses or controls such information; (b) Attorney Work Product:
Acknowledging that this Agreement contains provisions requiring the parties to protect the confidentiality
of any Confidential Information disclosed to it and that such information includes attorney work product,
Claimant hereby irrevocably instructs Litigation Counsel, and if further instructions are needed,
undertakes to instruct Litigation Counsel to provide Funder with all material attorney work product
relating to the Action as soon as practicable; (c) Attorney–Client Privileged Information: Relying on the
parties’ agreement that they share a common legal interest and that communicating attorney–client
privileged information to the Funder in the furtherance of that interest does not waive the privilege,
Claimant undertakes to share such information, provided that neither Claimant nor Litigation Counsel
shall disclose attorney–client protected information to Funder unless Claimant has discussed with
Litigation Counsel the information to be shared, the reason for the sharing, and the probable
consequences if the sharing is ultimately held to waive the privilege.
3.1.4 No Change in Litigation Counsel Without Funder Notice: Claimant agrees and undertakes that it
will not engage a new attorney or law firm to conduct the Action, either as replacement or supplemental
Litigation Counsel, without providing the Funder thirty (30) days’ prior written notice and without giving
good faith consideration to Funder’s response, if any. For the avoidance of doubt, “engage” in the
immediately preceding sentence means “execute a retainer agreement or other contract to employ such
attorney or law firm.”
3.1.5 Funder Participation in Settlement Decision Making: (a) Claimant will immediately notify, or cause
Litigation Counsel to notify, the Funder upon receiving a settlement offer, providing Funder with the
complete details of the offer in such notice. Claimant will not respond to the settlement offer until after
giving good faith consideration to Funder’s analysis of the offer, provided that Funder communicates its
analysis within five (5) days of receiving notice of the offer; (b) Claimant will not propose any settlement
offer without first notifying Funder in writing of the proposed offer, including its complete details, and
giving good faith consideration to Funder’s analysis, provided that Funder communicates its analysis
within five (5) days of receiving the proposed offer.
4.0 Common Interest and Confidentiality
4.1 Common Interest: Claimant and Funder agree they share a common legal interest and, to the degree
necessary to further their common legal interest, agree to share Common Interest Material. Claimant and
Funder agree the material would not be shared if the common legal interest did not exist.
4.2 Non-Disclosure Generally: During the term of this Agreement and for two (2) years following its
termination, the recipient of Confidential Information shall not disclose, use, or make available, directly
or indirectly, any Confidential Information to anyone, except as needed to perform its obligations under
this Agreement or as the disclosing party otherwise authorizes in writing. When disclosing, using, or
making Confidential Information available in connection with the performance of its obligations under
this Agreement or as permitted by the disclosing party, recipient shall enter into an agreement with such
secondary recipients to preserve the confidentiality of the Confidential Information on terms no less
restrictive than as set forth in this Agreement. The recipient agrees that neither the execution of this
Agreement nor the provision of Confidential Information thereto enables the recipient to use the
Confidential Information for any purpose or in any way other than as specified in this Agreement.
4.3 Potentially Enforceable Disclosure Requests: If a party receives a potentially enforceable request for
the production of Confidential Information, including without limitation a subpoena or other official
process, that party will promptly notify the other party in writing, unless such notice is prohibited by law.

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If allowed, such notice shall be given before complying with the request and shall include a copy of the
request.
If the request is of the recipient of Confidential Information, and notice to the disclosing party is
prohibited by law, the recipient must make a good faith effort to contest the disclosure, if appropriate. The
recipient shall also make a good faith effort to obtain an agreement protecting the confidentiality of the
Confidential Information prior to disclosing it.
If a party elects to contest the request, no party shall make any disclosure until a final, non-appealable or
non-stayed order has been entered compelling such disclosure. The contesting party shall pay its own
expenses and control its contest, provided that, if the recipient contests a request when forbidden by law
to give the disclosing party notice of the disclosure request, the disclosing party shall reimburse the
recipient’s reasonable expenses promptly after being notified of them.
5.0 Funding Terms
5.1 Conditions to Closing: Prior to Closing, (a) the representations and warranties of the parties remain
true in all material respects; (b) there has been no breach of the terms of this Agreement; and (c) Claimant
and Litigation Counsel shall have executed a retainer agreement in form and substance reasonably
satisfactory to Funder.
5.2 Purchase of the Litigation Proceeds Right: Subject to the terms and conditions of this Agreement, at
Closing, Claimant shall sell to Funder, and Funder shall purchase from Claimant, the Litigation Proceeds
Right by depositing the Investment Amount in the Trust Account. At Closing, the Funder shall receive the
Litigation Proceeds Right Certificate duly executed by Claimant.
5.3 Additional Investment: Funder undertakes no obligation to make any additional investment beyond
the Investment Amount. Notwithstanding the foregoing, in the event the Costs exceed the Investment
Amount before the Conclusion of the Action, Funder agrees to negotiate in good faith with Claimant and
Litigation Counsel regarding the amendment of this Agreement and/or purchase of an additional or
modified Litigation Proceeds Right. Funder shall have the absolute right of first refusal prior to the sale of
any Litigation Proceed Right to another funder.
5.4 No Commitment for Additional Financing: The Claimant acknowledges and agrees that Funder has
not made any representation, undertaking, commitment, or agreement to provide or assist Claimant in
obtaining any financing, investment, or other assistance, other than as set forth herein. In addition,
Claimant acknowledges and agrees that (i) no statements, whether written or oral, made by Funder on or
after the date of this Agreement shall create an obligation, commitment, or agreement to provide or assist
Claimant in obtaining any financing or investment; (ii) Claimant shall not rely on any such statement by
Funder or its representatives; and (iii) an obligation, commitment, or agreement to provide or assist
Claimant in obtaining any financing or investment may only be created by a written agreement, signed by
Funder and the Claimant, setting forth the terms and conditions of such financing or investment and
stating that the parties intend for such writing to be a binding obligation or agreement.
6.0 Termination
6.1 Termination Only for Cause: This Agreement may not be terminated except for cause. Either party
may terminate this Agreement for cause if the other party commits a material breach as defined in this
Section, with the consequences as specified in this Section. Provisions of this Agreement relating to
confidentiality and privilege, conflicts of interest, and forum selection shall survive termination.

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6.2 Material Breach by Claimant:
6.2.1 Materiality: The provisions of this Agreement relating (a) to complete and accurate disclosure by
Claimant of material information about the Action; (b) to cooperation in conducting the Action until
Conclusion of the Action and of non-impairment of the Action; and (c) to the potential Award and any
proceeds thereof are the very essence of this Agreement. Any breach by Claimant of those provisions is
presumptively material, as is a breach by Claimant of any other provision that directly results in a
reduction in the value of the Litigation Proceeds Right. The presumption of materiality may be rebutted
by Claimant establishing that such breach did not in fact reduce the value of the Litigation Proceeds
Right.
6.2.2 Notwithstanding the foregoing, failure to disclose material information about the Claim that
supports the Claim, strengthens the Claim, had it been disclosed when required is not a material breach of
the disclosure provisions.
6.2.3 Notice of Material Breach by Claimant: If Funder believes Claimant has materially breached this
Agreement it shall promptly notify Claimant in writing who will have thirty (30) days to cure such
breach, if capable of cure. A breach involving the failure to disclose material information or the failure to
disclose existing claim impairment at contract execution cannot be cured.
6.2.4 Consequences of Material Breach by the Claimant: Subject to subsection 9.2 below, if Claimant
commits an material breach without cure, Funder is entitled to an immediate refund of any Unused
Investment upon demand in writing, while retaining its Litigation Proceeds Right. Funder shall have no
further obligations under this Agreement other than the provisions that explicitly survive the termination
of this Agreement. This provision shall not limit Funder’s other remedies at law or equity.
6.3 Material Breach by Funder:
6.3.1 Materiality: Funder recognizes its commitments to protect Claimant’s privileged information, and
its assumption of a duty of good faith and fair dealing are of the essence of this Agreement. A material
breach occurs if Funder fails to transfer the Investment Amount at Closing or if a disclosure by Funder
directly results in waiver of privilege, if a judge, arbiter, or other third-party dispute resolution mechanism
so rules and the waiver of privilege directly reduces the value of the Award or Proceeds. The breach by
Funder of any other provision will be deemed material if it directly reduces the value of the Award or
Proceeds.
6.3.2 Notice of Material Breach by Funder: If Claimant believes Funder has materially breached this
Agreement, Claimant shall promptly notify Funder in writing who will have thirty (30) days to cure such
breach, if capable of cure.
6.3.3 Consequences of Material Breach by Funder: Subject to subsection 9.2 below, if Funder commits an
incurable breach or fails to timely cure a material breach, Funder’s shall surrender any right to recovery of
Unused Investment under this Agreement and Funder’s recovery under the final provision of the
Waterfall Schedule shall be reduced from twenty-five percent (25%) to ten percent (10%). This provision
shall not limit any other remedies the Claimant may have in law or equity.
7.0 Security Interest
7.1 Trust Account: The Claimant hereby irrevocably instructs, and, if further instructions are needed, will
instruct, Litigation Counsel to receive into the Trust Account any Proceeds that the Claimant becomes
entitled to receive or that Litigation Counsel receives for the benefit of the Claimant.

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7.2 Security Interest in the Proceeds: To secure its obligation to Funder represented by the Litigation
Proceed Right owned by Funder, Claimant hereby grants Funder a security interest in any Proceeds held
in the Trust Account or otherwise and any and all property therein, whether such property is in the
account now or is after-acquired. Such security interest shall terminate upon Claimant paying Funder the
full value of Funder’s Litigation Proceeds Right or upon the Conclusion of the Action, if, at the
Conclusion of the Action, Claimant is not entitled to receive any Proceeds pursuant to this Agreement.
7.3 No Other Security Interests: Claimant shall not grant a security interest in the Trust Account or the
Action to anyone other than Funder without Funder’s prior written consent.
8.0 Miscellaneous
8.1 Governing Law: This agreement shall be governed by California law.
8.2 Agreement to Arbitrate: Each of the parties hereby agrees that all controversies and disputes which
may arise between them concerning any transaction or the construction, performance, or breach of this
Agreement, whether entered into prior to, on, or subsequent to the date hereof, shall be determined by
mandatory and binding arbitration. Any arbitration shall be held in San Francisco, California and
administered by either Judicial Arbitration and Mediation Services (“JAMS”) or the American Arbitration
Association (the “AAA”), pursuant to the Federal Arbitration Act in accordance with this Agreement and
the Commercial Arbitration Rules of JAMS or the AAA, as applicable. Selection of JAMS or the AAA is
at the sole discretion of Funder. To the extent that any inconsistency exists between this Agreement and
such statutes or rules, this Agreement shall control. Judgment upon the award rendered by the arbitrators
may be entered in and enforced by any court having jurisdiction and in accordance with the practice of
such court.
8.3 Notices: All notices, consents, waivers and other communications hereunder shall be in writing and
shall be deemed to have been duly given when delivered (i) in person, (ii) by facsimile or other electronic
means, with affirmative confirmation of receipt, (iii) one business day after being sent, if sent by
reputable, nationally recognized overnight courier service or (iv) three (3) business days after being
mailed, if sent by registered or certified mail, in each case to the applicable party at the following
addresses (or at such other address for a Party as shall be specified by like notice):
If to Claimant:
                         Martin A. Tripp
                         Bocskai Utca 11/A
                         Cece 7013
                         Hungary
                         Email: mtprotons@protonmail.com

With a copy (which shall not constitute notice) to Litigation Counsel:
                       Tiffany & Bosco P.A.
                       Camelback Esplanade II, Seventh Floor
                       2525 East Camelback Road
                       Phoenix, AZ 85106
                       Attn: Robert D. Mitchell, Esq.
                       Email: rdm@tblaw.com

If to Funder:            The Funicular Fund, LP
                         c/o Cable Car Capital LLC
                         1449 Washington Street, #6
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                         San Francisco, CA 94109
                         Attn: Jacob Ma-Weaver
                         Email: jacob@cablecarcapital.com

With a copy (which shall not constitute notice) to:
                       Ragghianti Freitas LLP
                       1101 Fifth Avenue, Suite 100
                       San Rafael, CA 94901
                       Attn: Jack G. Martel
                       Email: jmartel@rflawllp.com
8.4 Counterparts: This Agreement may be executed in counterparts, all of which taken together shall
constitute one agreement binding on all the parties notwithstanding that all the parties are not signatories
to the original or the same counterpart.
8.5 Severability: In case any provision in this Agreement shall be held invalid, illegal or unenforceable in
a jurisdiction, such provision shall be modified or deleted, as to the jurisdiction involved, only to the
extent necessary to render the same valid, legal and enforceable, and the validity, legality and
enforceability of the remaining provisions hereof shall not in any way be affected or impaired thereby nor
shall the validity, legality or enforceability of such provision be affected thereby in any other jurisdiction.
Upon such determination that any term or other provision is invalid, illegal or incapable of being
enforced, the Parties hereto shall negotiate in good faith to modify this Agreement so as to effect the
original intent of the Parties as closely as possible in a mutually acceptable manner in order that the
transactions be consummated as originally contemplated to the fullest extent possible.
8.6 Amendment: This Agreement may only be amended pursuant to a written agreement signed by each
of party.
8.7 Entire Agreement: This Agreement and the documents or instruments referred to herein, including any
exhibits attached hereto, which exhibits are incorporated herein by reference, embody the entire
agreement and understanding of the parties hereto in respect of the subject matter contained herein. There
are no restrictions, promises, representations, warranties, covenants or undertakings, other than those
expressly set forth or referred to herein or the documents or instruments referred to herein or the exhibits
and schedules hereto, which collectively supersede all prior agreements and the understandings among the
parties with respect to such subject matter.


{REMAINDER OF PAGE INTENTIONALLY LEFT BLANK; SIGNATURE PAGE FOLLOWS}




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IN WITNESS WHEREOF, each party hereto has caused this Agreement to be signed and delivered by its
respective duly authorized officer as of the date first above written.
                                             Claimant:
                                             Claimant
                                                   ntt:
                                                   n



                                             Martin A. Tripp

                                             Funder:

                                             THE FUNICULAR FUND, LP

                                             By: Cable Car Capital LLC
                                             Its: General Partner


                                                       By:
                                                       Name: Jacob Ma-Weaver
                                                       Title: Managing Member

ACCEPTED AND AGREED:

Litigation Counsel:

TIFFANY & BOSCO P.A.


By:
Name: Robert D. Mitchell
Title: Shareholder




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                                               EXHIBIT A
                         LITIGATION PROCEEDS RIGHT CERTIFICATE
THESE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933,
AS AMENDED. THEY MAY NOT BE SOLD, OFFERED FOR SALE, PLEDGED OR
HYPOTHECATED IN THE ABSENCE OF A REGISTRATION STATEMENT IN EFFECT WITH
RESPECT TO THE SECURITIES UNDER SUCH ACT OR AN OPINION OF COUNSEL
SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED.


For value received, The Funicular Fund, LP is the holder of a Litigation Proceeds Right in the original
principal amount of $150,000.
The transfer, sale, assignment, hypothecation, encumbrance, or alienation of the rights represented by this
certificate is restricted by a Litigation Funding Agreement among all the undersigned Claimant and The
Funicular Fund, LP, dated as of November 16, 2018. All the terms and provisions of the Litigation
Funding Agreement are incorporated by this reference and made a part of this certificate.


CLAIMANT:
CLAIMA
    MAN
    MA NT
        T:




Martin A. Tripp


Dated: Novemberr __, 2018




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